IN RE:

STEVEN PAUL BUTNER,

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

CASE NO. 16-08959-JMC-7

Debtor.

MOTION TO EMPLOY SPECIAL COUNSEL

Comes now Gregory Silver, Trustee herein, and moves the Court for an Order appointing

Special Counsel on behalf of the Trustee . In support hereof, the Trustee states:

. That on September 25, 2020, the Court entered an Order to Motion to Reopen

Bankruptcy Case and Notice of Reappointment of Trustee was issued.

. The Trustee has located an asset of debtor of a personal injury claim arising from a

vehicle accident on November 14, 2016 against Koorsen Fire Protection..

. The Trustee desires to retain the legal services of Matthew Boulton, BOULTON

LAW GROUP, LLC, 405 East Main Street, Brownsburg, IN 46112; (317) 350-2680

to prosecute said action..

. The proposed special counsel has agreed to represent the Trustee on a contingent fee

basis of 33 1/3% of gross settlement or judgment on the debtor’s claim, plus
reimbursement of expenses ,all pursuant to the attached Contingent. Fee Retainer

Agreement.

. That proposed special counsel has no connection to any party in interest except as the

present counsel on the case now pending and has no interest adverse to any party in

interest herein as per Affidavit of Disinterest attached hereto as Exh “A”.
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WHEREFORE, the Trustee moves the Court for an Order employing Boulton Law Group
LLC as special counsel for representation of trustee herein , and for all other relief proper in the

premises.

Respectfully submitted,

/s/ Gregory _K. Silver,trustee
Gregory K. Silver

445 N. Pennsylvania St., Suite 810
Indianapolis, IN 46204
(317) 590-0418

trusteegksilver@yahoo.com

CERTIFICATE OF SERVICE

 

I do hereby certify that a copy of the foregoing was sent to all parties entitled to notice
under ecf noticing this \S* day of October _, 2020.

/s/ Gregory K. Silver, trustee

 
IN RE:

STEVEN PAUL BUTNER,

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

CASE NO. 16-08959-JMC-7

Debtor.

VERIFIED AFFIDAVIT OF DISINTEREST OF ATTORNEY

I, Matthew C. Boulton, upon first being duly sworn, depose and state as follows:

. Iam an attorney at law licensed to practice in the State of Indiana, and maintain an office

at 405 E. Main Street, Brownsburg, IN 46112.

I have performed various legal services for the above-referenced Debtor with regard to a
personal claim of the Debtor arising from a vehicle accident on November 14, 2016. A
lawsuit is now pending relating to said claim under Cause No. 49D07-1809-CT-036521,
in the Marion Superior Court, Civil Division 7.

With the exception of providing legal services to the Debtor, I have no connection with
the Debtor, Debtor’s creditors, or any other party in interest herein.

I do not have an interest materially adverse to the interests of the Estate, or of any class of
creditors, or equity holders, by reason of any direct or indirect relationship to, connection
with, or interest with, the Debtor herein.

FURTHER AFFIANT SAYETH NOT.

Sikh “A
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] AFFIRM, UNDER THE PENALTIES FOR PERJURY, THAT THE FOREGOING

REPRESENTATIONS ARE TRUE TO THE BEST OF MY KNOWLEDGE.

/s/ Matthew C. Boulton

Matthew C. Boulton, (Atty No. 19277-53)
BOULTON LAW GROUP, LLC

405 E. Main Street

Brownsburg, IN 46112

(317) 350-2680
CONTINGENT FEE RETAINER AGREEMENT

IT 1S AGREED by and between Gregory K. Silver, as US Bankruptcy Trustee for Steven
Butner (“CLIENT(S)”) and Boulton Law Group, LLC (“ATTORNEYS”), that:

 

Cleint(Trustee) wishes to employ ATTORNEYS to prosecute further a bodily injury claim for an
incident which occurred on 11/14/2016 _ in the State of Indiana.

 

The terms of this Agreement are:

1.

CLIENT hereby Retains ATTORNEYS to prosecute or adjust all claims for
CLIENT’S bodily injury damages known or which may arise in the future, because
of the above-referenced incident. ATTORNEYS shall take all legal steps
necessary to enforce CLIENT’S bodily injury claim including investigation,
preparation, and trial of any action filed in connection with CLIENT'S bodily injury
claim. Attorneys are not employed to represent Client in regard to claims for any
property damage, worker's compensation, medical malpractice, and/or products
liability arising from or related to the incident, unless specifically agreed to in
writing.

ATTORNEYS may void this agreement if upon a more complete investigation,
research or evaluation; it is ATTORNEY'S professional opinion that CLIENT does
not have a meritorious or viable claim. In addition, ATTORNEYS may withdraw in
the following situations: 1) If CLIENT refuses to communicate and cooperate in the
development and prosecution of the case; 2) if CLIENT is dishonest with
ATTORNEYS regarding any issue related to the case; or 3) for any reason set forth
in the Code of Professional Responsibility. Any withdrawal by ATTORNEYS will be
provided in writing at CLIENT’S last known address.

ATTORNEYS are not to compromise or settle CLIENT’S claim without CLIENT'S
express consent.and subject to approval of US Bankruptcy Court. The full
settlement monies received in this case are to be sent to Gregory K. Silver, trustee
at 445 N. Pennsylvania St. #810 Indianapolis, In 46204 and distributed by him for
attorney fees as Ordered by the US Bankruptcy Court pursuant to this Agreement..

ATTORNEYS are to handle CLIENT’S claim on a contingency fee basis, so that if
there is no recovery or settlement monies received then there will be no legal fee
payable by CLIENT to ATTORNEYS. The contingency fee is calculated on the
gross settlement plus expenses of attorneys.
10.

11,

12.

In consideration of ATTORNEYS’ services rendered and to be rendered, CLIENT
hereby agrees to pay ATTORNEYS one-third (33 1/3%) of the gross amount
received by way of any settlement, recovery and/or verdict. plus Attorney’s
expenses for the case.

ATTORNEYS agree to advance necessary costs and litigation expenses in
pursuing said claim. Specific case expenses such as court costs, mediation fees,
medical records and opinions, investigation (if needed), photos, depositions,
expert fees and expenses and other costs, such as commercial copying services,
courier mail services, and the like, will be paid by ATTORNEYS and reimbursed
by the CLIENT at the conclusion of the representation as approved by the US
Bankruptcy Court..

CLIENT understands that if a health insurance company, Medicare and/or Medicaid
paid for all or was part of the CLIENT’S case, there may be liens against any
settlement or judgment. CLIENT authorizes ATTORNEYS to negotiate the liens to
the lowest possible amount on CLIENT’S behalf. CLIENT understands that the
above described liens must be paid out of the settlement proceeds .

Upon completion of the claim or case the ATTORNEYS shall prepare a Settlement
Statement showing an accounting of all proceeds for fees, costs and expenses
incurred, payment of any liens, other payment distributions, and the proceeds to
CLIENT.

CLIENT acknowledges that ATTORNEYS have not made any promises or
warranties regarding the validity or outcome of this case, or the size of any expected
recovery. CLIENT has retained ATTORNEYS after personal consultation and upon
CLIENT’S individual discretion. ATTORNEYS will handle the case in a professional
and workmanlike manner in accordance with the standards of similar practitioners.

CLIENT understands that ATTORNEYS do not offer tax or estate advice and
CLIENT is encouraged to seek the advice of an estate attorney, tax attorney or
other financial professional with any questions relating to the tax or other financial
consequence of settling this legal maiter.

This Contract is to be interpreted in accordance with the laws of the State of
Indiana, the US Bankruptcy Code and with the ethical requirements of that
jurisdiction. This Agreement may not be modified in any way without the express,
written agreement of both parties. This represents the entire agreement of the
parties at this time..

CLIENT have been given a copy of this Agreement to read and review and have
been given the opportunity to take it home and review it before signing. CLIENT
has been offered the chance to ask questions about the terms and conditions of
the Agreement. CLIENT has read and reviewed this Agreement and believes to
understand its terms and enters into this Agreement of CLIENT’S own free will,
without duress or coercion.
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IN WITNESS WHEREOF, the Parties enter this Agreement within the State of Indiana:

 

DATED: Superb, 302020 CLIENT(S): ¢ & fal, Taube
Signature oe
: Capp
__Gregory K. Silver, trustee “ 5 a ,
Printed Name
DATED 4] BO 2020 ATTORNEYS:

 

By: LD POD

Boulton Law Group, LLC
405 East Main Street
Brownsburg, IN 46112
(317) 350-2680
